
660 S.E.2d 491 (2008)
STATE of North Carolina
v.
Quincy J. HUNT.
No. 192P07.
Supreme Court of North Carolina.
March 6, 2008.
Amos Granger Tyndall, Chapel Hill, for Hunt.
Robert Curran, Assistant Attorney General, David Saacks, District Attorney, for State of NC.

ORDER
Upon consideration of the notice of appeal from the North Carolina Court of Appeals, filed by the Defendant on the 24th day of April 2007 in this matter pursuant to G.S. 7A-30, and the motion to dismiss the appeal for lack of substantial constitutional question filed by the State of NC, the following order was entered and is hereby certified to the North Carolina Court of Appeals: the motion to dismiss the appeal is
"Allowed by order of the Court in conference, this the 6th day of March 2008."
Upon consideration of the petition filed on the 24th day of April 2007 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 6th day of March 2008."
